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                           EXHIBIT C
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                                                                                    |   | HOME | Sitemap | RSS | XML |
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                                                                                                                        SEARCH......




                                                                             Welded Outlet



                                                                            CategoryAmerican Standard


                                                                            Clicks7474


                                                                            Release date:2016/01/21


                                                                                                            




                                Details




North American                 elated tags:Malleablevalve


Tel 86 531 87885062            Previous:None
Fax 86 531 87879387
E-mail: haizhen.gao@meide-     Next:Threaded Outlet
casting.com
Contact person Haizhen.Gao     Related Products:
Company Address Pingyin
Industrial Park, Meigui
Zone,Jinan,China,250400




                                Dry Riser Landing Va   Gate Valve Z85X      Gate Valve XZ41X Butterfly Valve XD37




                                Dry Riser Landing Va



                               Related News:


                                 FM Approval for Threaded Butterfly Valve                VdS Approval for Gate Valve!                  34
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                                                                            Threaded Outlet



                                                                            CategoryAmerican Standard


                                                                            Clicks146146


                                                                            Release date:2016/01/21


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                                Details




                               elated tags:Malleablevalve
North American
                               Previous:Welded Outlet
Tel 86 531 87885062
                               Next:None
Fax 86 531 87879387
E-mail: haizhen.gao@meide-
casting.com                    Related Products:
Contact person Haizhen.Gao
Company Address Pingyin
Industrial Park, Meigui
Zone,Jinan,China,250400




                                Gate Valve XZ81X     Gate Valve Z85X   Dry Riser Landing Va Butterfly Valve XD37




                                 Gate Valve Z45X



                               Related News:


                                 FM Approval for Threaded Butterfly Valve              VdS Approval for Gate Valve!
                                                                                                                                     35
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                           EXHIBIT F
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                           EXHIBIT G
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    B R A N D S O F A N V I L I N T E R N AT I O N A L

 Anvil product lines include malleable and cast iron ﬁttings, unions and       JB Smith is the leading manufacturer of oil country tubular fittings,
 ﬂanges; seamless and welded steel pipe nipples; steel pipe couplings;         swages and bull plugs – all meeting API specifications. Offering tubing
 universal anvilets; forged steel ﬁttings and unions; pipe hangers and         nipples, casing nipples as well as a full line of traditional line pipe and
 supports; threaded rod; and engineered hangers.                               oil country threads in every schedule, JB Smith is the resource for all
                                                                               your oilfield needs.




 The Gruvlok product line consists of couplings for grooved and
 plain-end ﬁttings, butterﬂy valves and check valves; ﬂanges; pump             The Merit product line includes a variety of tee-lets and drop nipples for
 protection components; pipe grooving tools; as well as copper                 fire protection applications. Most Merit products are UL/ULC Listed, FM
 and stainless steel system components.                                        Approved, and rated from 175 to 300 psi.




 The SPF/Anvil product line includes a variety of internationally sourced      Steel pipe nipples and steel pipe couplings are manufactured in
 products such as grooved couplings, ﬁttings, cast iron, malleable iron        accordance with the ASTM A733 Standard Specification for Welded
 and ductile iron threaded ﬁttings, steel pipe nipples, as well as tee-lets.   and Seamless Carbon Steel and Stainless Steel Pipe Nipples. Steel
                                                                               pipe couplings are manufactured in accordance with the ASTM
                                                                               A865 Standard Specification for Threaded Couplings, Steel, Black
                                                                               or Zinc-Coated (Galvanized) Welded or Seamless, for Use in Steel
                                                                               Pipe Joints. API couplings are manufactured in accordance with the API
 Catawissa NACE and API approved wing unions for Standard Service              Specification for line pipe.
 are offered in non-pressure seal ends as well as threaded and butt
 weld, and are interchangeable with most leading union manufacturers.
 Fully traceable and available with complete mill certifications,
 Catawissa’s oilfield wing union product line includes the standard
 ball-and-cone design plus our unique Figure 300 Flat Face design,             Anvil-Strut products include a complete line of channel in stock lengths
 where space and pipe line separation are a consideration.                     of 10 and 20 feet, with custom lengths available upon request. A
                                                                               variety of fittings and accessories are also offered. All products can
                                                                               be ordered in an assortment of finishes and material choices including
                                                                               SupR-Green™, Zinc Trivalent Chromium, pre-galvanized, hot-dipped
                                                                               galvanized, electro-galvanized, aluminum, plain, and stainless steel.


 Anvil EPS-Engineered Pipe Supports are products used to support
 piping systems under thermal, seismic, and other dynamic loading
 conditions. The product line encompasses variable spring hangers,
                                                                               North Alabama Pipe
 constant supports, sway struts and snubbers as well as standard and
 special design clamps. Anvil EPS brings the highest quality products          Founded in 1983, NAP is a manufacturer of fabrication equipment,
 and innovative engineering solutions to common and uncommon piping            including automatic welders, plasma cut-off equipment, hole cutting
 system problems.                                                              equipment, make-on machines and pipe threaders. NAP, innovators of
                                                                               pipe fabrication equipment.




                                                                                                                                                         40
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           SPF MTM 300                         Welded Out-Let Fittings


                            Choose the MTM 300
                         Choose Engineered Efﬁciency:
           • Unique Saddle Design – Out-Lets Cover Broader Range of
             Pipe Sizes Reducing Inventory and Lowering Costs.
           • Engineered for Fast One-Pass Welding – More Efﬁcient to
             Install; Saving Time, Labor and Money
           • Thick Wall – Easy to Install While Reducing Heat Distortion &                                               For Listings/Approval Details and Limitations,
                                                                                                                           visit our website at www.anvilintl.com or

             Burn Through                                                                                                  contact an Anvil® Sales Representative.



           • Threads Are Quality Controlled to Aeronautical Standards –
             Superior Reliability Over Standard NPT Thread Forms. Fewer
             Leaks Translate into Lower Costs.
           • Modern Design – Developed to Maximize Production Efﬁciencies
             of NAP Universal Welders, NAP Line Welders and other
             Current Weld Equipment.




       GENERAL SPECIFICATIONS                                                escape. Excessive heat may cause the threads near
       MTM 300 Tee-Lets are manufactured from highly weldable steel          the weld zone to distort while also causing the
       which conforms to the chemical and physical requirements of           branch line pipe to bend.
       ASTM A-53, Grades A or B, Type E
                                                                             APPROVED PIPE MANUFACTURERS
       That is why MTM 300 Tee-Let thread-forms are quality controlled       MTM 300 Tee-Lets are designed to be installed on Schedule
       to Aeronautical National Form standards, which requires               40, Schedule 10 and Proprietary Flow Pipe. Please visit www.
       gaging both L-1 hand tight and L-3 wrench tight threads. This         anvilintl.com for a complete listing or contact your local Anvil
       results in superior thread engagement and a more forgiving            International Representative.
       Tee-Let than those inspected only to traditional NPT L-1 gaging
       standards.
                                                                             AGENCY APPROVALS
                                                                             MTM 300 Tee-Lets are UL/ULC Listed and FM Approved for
       RECOMMENDED HOLE SIZES                                                use in Automatic Fire Sprinkler Systems installed in accordance
       Holes may be cut by mechanical means including hole sawing,           with the requirements of NFPA Bulletin 13. The Tee-Lets are
       mechanical ﬂame cutting (oxy-acetylene or propane), and air           rated for 300psi for fire sprinkler systems.
       plasma cutting machines. When installing MTM 300 Products,
       Anvil International recommends using NAP fabrication
       equipment for consistent operations.                                    CAUTION:
                                                                               MTM 300 Tee-lets described herein must be installed and
       RECOMMENDED WELD PROCEDURES                                             maintained in compliance with this document as well as
       As a general rule, the weld should be only as hot as required           the applicable standards of the National Fire Protection
       to allow the weld to penetrate the materials being welded               Association in addition to the standards of any other
       while allowing gases developed in the welding process to                authorities having jurisdiction.



                                     PROJECT INFORMATION                                                         APPROVAL STAMP
  Project:                                                                                          TApproved
  Address:                                                                                          TApproved as noted
  Contractor:                                                                                       TNot approved
  Engineer:                                                                                         Remarks:
  Submittal Date:
  Notes 1:
  Notes 2:
 FP-3.16




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          MERIT 300 TEE-LET                               Welded Out-Let Fittings


                                  When You Choose the Merit 300
                                  You Choose Engineered Efﬁciency:
          • Unique Saddle Design – Out-Lets Cover Broader Range of
            Pipe Sizes Reducing Inventory and Lowering Costs.
          • Engineered for Fast One-Pass Welding – More Efﬁcient to
            Install; Saving Time, Labor and Money
          • Thick Wall – Easy to Install While Reducing Heat Distortion &
            Burn Through                                                                                                 For Listings/Approval Details and Limitations,
                                                                                                                           visit our website at www.anvilintl.com or
                                                                                                                           contact an Anvil® Sales Representative.
          • Threads Are Quality Controlled to Aeronautical Standards –
            Superior Reliability Over Standard NPT Thread Forms. Fewer
            Leaks Translate into Lower Costs.
          • Modern Design – Developed to Maximize Production Efﬁcien-
            cies of NAP Universal Welders, NAP Line Welders and other
            Current Weld Equipment.
          • Domestic Manufacturer – Merit 300 Tee-Lets meet the require-
            ment for domestic content for Automatic Fire Sprinkler Systems




      GENERAL SPECIFICATIONS                                                 escape. Excessive heat may cause the threads near
      Merit 300 Tee-Lets are manufactured from highly weldable steel         the weld zone to distort while also causing the
      which conforms to the chemical and physical requirements of            branch line pipe to bend.
      ASTM A-53, Grades A or B, Type E
                                                                             APPROVED PIPE MANUFACTURERS
      That is why Merit 300 Tee-Let thread-forms are quality                 Merit 300 Tee-Lets are designed to be installed on Schedule
      controlled to Aeronautical National Form standards, which re-          40, Schedule 10 and Proprietary Flow Pipe. Please visit www.
      quires gaging both L-1 hand tight and L-3 wrench tight threads.        anvilintl.com for a complete listing or contact your local Anvil
      This results in superior thread engagement and a more forgiv-          International Representative.
      ing Tee-Let than those inspected only to traditional NPT L-1
      gaging standards.
                                                                             AGENCY APPROVALS
                                                                             Merit 300 Tee-Lets are UL/ULC Listed and FM Approved for
      RECOMMENDED HOLE SIZES                                                 use in Automatic Fire Sprinkler Systems installed in accordance
      Holes may be cut by mechanical means including hole sawing,            with the requirements of NFPA Bulletin 13. The Tee-Lets are
      mechanical ﬂame cutting (oxy-acetylene or propane), and air            rated for 300psi for fire sprinkler systems.
      plasma cutting machines. When installing Merit Products, Anvil
      International recommends using NAP fabrication equipment for
      consistent operations.                                                   CAUTION:
                                                                               Merit 300 Tee-lets described herein must be installed and
      RECOMMENDED WELD PROCEDURES                                              maintained in compliance with this document as well as
      As a general rule, the weld should be only as hot as required            the applicable standards of the National Fire Protection
      to allow the weld to penetrate the materials being welded                Association in addition to the standards of any other
      while allowing gases developed in the welding process to                 authorities having jurisdiction.



                                    PROJECT INFORMATION                                                          APPROVAL STAMP
 Project:                                                                                           TApproved
 Address:                                                                                           TApproved as noted
 Contractor:                                                                                        TNot approved
 Engineer:                                                                                          Remarks:
 Submittal Date:
 Notes 1:
 Notes 2:
FP-7.15




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                                       Welded Outlet Fittings
                                           For Fire Protection & Other Low Pressure Piping Systems



      SPF Welded Outlet Fittings offer the user a high strength,
      low cost forged threaded and grooved line of ﬁttings
      speciﬁcally designed and manufactured to be installed                                                                    For Listings/Approval Details and Limitations,
      on proprietary thin wall ﬂow pipe, Schedule 5, 10, and                                                                     visit our website at www.anvilintl.com or
                                                                                                                                 contact an Anvil® Sales Representative.
      40 standard wall pipes.

      SPF Welded Outlets are forged steel welding outlet
      ﬁttings. The material used in manufacture meets the
      chemical and physical requirements of ASTM A 53. SPF
      Welded Outlet Fittings employ a low weld volume design
      to provide either a partial or full penetration weld
      employing a single pass with minimum burn-through and
      pipe distortion. Threads comply with ANSI B1.20.1. The
      SPF Welded Outlets are UL Listed and FM Approved for
      use conforming to the requirements of NFPA 13. SPF
      Welded Outlet Fittings are rated for 300 psi when used
      in ﬁre sprinkler system applications.




                                                            SPF WELDED OUTLET FITTINGS
                     Outlet Model                               Outlet Pipe Size                 Header Pipe Size                                Rated Pressure
                                                                        In.                            In.                                              psig
                                                                    1
                                                                     ⁄2, 3⁄4, 1              1
                                                                                              ⁄2 - 8 (Sch.10, 40)
                        MTM-40                               11⁄4, 11⁄2, 2, 21⁄2, 3, 4   1
                                                                                          ⁄2 - 4 (Sch. 5, DynaFlow)                                     300
                                                                         2                        4, 6 (EZ-Flow)
                                                                        1- 8                 11⁄4 - 8 (Sch.10, 40)
                         GR-40                                                                                                                          300
                                                                     21⁄2 - 8            21⁄2 - 8 (Sch. 5, DynaFlow)

      1) Size-on size (i.e. 2 x 2) SPF Welded Outlet Fittings are not FM Approved.
      2) FM rated working pressure when welded on Sch. 5 or lightwall pipe is 175 psi.
      3) Refer to the UL and FM websites for the most current pressure ratings.




                                           PROJECT INFORMATION                                                                     APPROVAL STAMP
 Project:                                                                                                           TApproved
 Address:                                                                                                           TApproved as noted
 Contractor:                                                                                                        TNot approved
 Engineer:                                                                                                          Remarks:
 Submittal Date:
 Notes 1:
 Notes 2:
SPF-8.14




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        Greencastle Facility                                      Waynesboro Facility
        9170 Molly Pitcher Hwy                                    330 E Ninth Street
        Greencastle, PA 17225                                      Waynesboro, PA 17268
        Telephone: 717-597-5300                                   Telephone: 717-762-9141
        Fax; 717-597-5394                                         Fax: 717-762-9153
        ISO 9001:2008 Certified Facility                          ISO 9001:2008 Certified Facility

                                      CERTIFICATE OF COMPLIANCE
This is to certify that the following products are manufactured by Beck Manufacturing/Anvil International,
Greencastle & Waynesboro, PA, USA.


             Standard Welded Nipples
                Manufactured Specification    ASTM A733
                Material                      ASTM A53/ASME SA53
                Threads                       ASME B1.20.1
                Galvanizing/Plating           ASTM A123/ASTM B633
             Seamless Pipe Nipples – High Temperature and Low Temperature
                Manufactured Specification    ASTM A733
                Material                      ASTM A106/ASME SA106 or ASTM A333/ASTM999
                Threads                       ASME B1.20.1
                Galvanizing/Plating           ASTM A123/ASTM B633
             Steel Merchant and XH Couplings
                Manufactured Specification    ASTM A865
                Material                      ASTM A53/ASME SA53 or ASTM A106/ASME SA106
                Threads                       ASME B1.20.1
                Plating                       ASTM B633.
             API 5L Line Pipe Couplings
                Manufactured Specification    API 5L
                Plating                       ASTM B633
             Shallow Well Couplings, Water Well & Drifted Coupling, & #9 Drive Couplings
                Manufactured Specification    ASTM A589
                Material                      ASTM A53
                Threads                       ASME B1.20.1
                Plating                       ASTM B633
             Weld-Miser Tee-let – Weld outlet
                Material                      AISI 1010 Hot Rolled Steel, ASTM A53 Grade A or B
                                              ASTM A135 or ASTM A795
                Threads                       ASME B1.20.1 or ISO7/1
                Plating                       ASTM B633

                Licensing Approvals                       and
             Eliminator – Adjustable Drop Nipples
                Material                     ASTM A53, ASTM A135, or ASTM A513
                Threads                      ASME B1.20.1 or ISO7/1
                Plating                      ASTM B633


  Certified for and on behalf of Anvil International/Beck Manufacturing   Greencastle & Waynesboro Facilities.




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                               Welded Outlet Fittings



      SPF Welded Outlets are designed and Manufac-                        • SPF Welded Outlets threaded and grooved
      tured to reduce the amount of weld required to                      welding outlet ﬁttings are UL/ULC Listed and FM
      install the Tee-Lets on thin wall or proprietary ﬂow                Approved for use in the ﬁre sprinkler systems
      pipe. Typically only one weld-pass completes the                    installed in accordance with the requirements of
      installation. SPF Welded Outlets install with less                    NFPA 13. They are rated for 300 PSI operation
      weld volume than any other brand of welding                             in ﬁre sprinkler systems, and higher pressures
      outlet ﬁttings for ﬁre sprinkler applications. To                        in other non-critical piping systems.
      accomplish this:                                                          • SPF Welded Outlets are offered in a wide
      • The contoured end of the ﬁttings employs a                            variety of header sizes. The consolidated
        reduced outside diameter. Two major                                 header sizes shown in the following charts allow
        advantages are immediately apparent:                             the ﬁttings to be installed on more than one header
      • The thinner wall on the contoured end permits welding       size, permitting the ﬁrst size listed to ﬁt the header
        temperatures to be matched to the thickness of the          perfectly, while a small gap along the longitudinal center
        branch line or main thereby insuring complete               line of the header will appear for the second size listed.
        penetration without cold welds, weld roll-off, burn-        • SPF Welded Outlets are identiﬁed by a lot number that
        through or excessive distortion.                              provides full traceability.
      • On smaller sizes a heavier section is maintained on
        the threaded end of the ﬁtting. This protects the threads   FOR YOUR PIPING SYSTEMS SPECIFY
        from damage during shipping and handling prior to           SPF WELDED OUTLETS
        installation as well as from weld distortion.               Branch Outlet Fittings shall be SPF Welded Outlets,
                                                                    Lightweight forged steel, employing low weld volume
      • Each outlet size 11⁄2" and larger, whether female
                                                                    proﬁle to provide for full penetration welds with minimum
        threaded, cut grooved or beveled requires the same
                                                                    burn through and pipe distortion on Schedule 5 thru 10,
        hole size in the header pipe. This simpliﬁes the
                                                                    proprietary thin wall, and standard wall pipe. Threads
        installation process.
                                                                    are to be ANSI B1.20.1 and the bore of the ﬁttings
                                                                    calculated to improve ﬂow. Welding outlets to be UL
      GENERAL SPECIFICATIONS
                                                                    Listed, FM Approved for use conforming to NFPA 13,
      • Welded outlet ﬁttings are manufactured from
                                                                    and pressure rated for 300 PSI maximum.
        highly weldable steel which conforms to the chemical
        and physical requirements of ASTM A-53, Grades A
        or B, Type E. Ease of installation is assured when
        automatic welding equipment is used to install SPF
        Welded Outlets.
      • Threads are cut in accordance with the requirements
        of ANSI B1.20.1, national standard for tapered pipe
        threads.




SPF-8.14




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                           EXHIBIT H
